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                                                       U.S. Department of Justice

                                                       National Security Division


  Counterintelligence and Export Control Section       Washington, D.C. 20530


                                                       October 11, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Government Update on Availability of Electronic Copies of Seized Materials

  Dear Judge Dearie:

  Consistent with Judge Cannon’s order (ECF 125, at 3), the government expects to provide
  Plaintiff and the Special Master access to electronic copies of the Seized Materials (excluding
  filter materials and documents with classification markings) tomorrow, Wednesday, October 12,
  2022. Scanning of those Seized Materials was completed this past Saturday, October 8, 2022.
  Processing of the scanned documents took place over the holiday weekend and Bates numbers
  were applied today. Tomorrow, the government expects to “make available to Plaintiff and the
  Special Master [the Seized Materials as described above] . . . in electronic format with each page
  bearing a unique Bates number.” ECF 125, at 3. We understand that the Bates range is
  SM_MAL_00000000 to SM_MAL_00021792 (Seized Materials_Mar-a-Lago), for a total
  production of 21,792 pages.

  To access electronic copies of the Seized Materials, Plaintiff’s counsel and the Special Master
  and his assistants – anyone who may access the Seized Materials under the Judicial Protective
  Order (ECF 113) – will need to provide the hosting vendor with their usernames and e-mail
  addresses. The government provided the hosting vendor’s point of contact to Plaintiff’s counsel
  on Wednesday, October 5, 2022, the same day that the government engaged the hosting vendor.
  The government is providing the hosting vendor’s point of contact to the Special Master’s
  courtroom deputy contemporaneously with this filing.

  As soon as the government provides the spreadsheet and makes available the electronic copies of
  the Seized Materials, it will file the Notice of Completion. See ECF 125, at 3-4.




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  Thank you for your consideration.

                                      Respectfully submitted,


                                      JUAN ANTONIO GONZALEZ
                                      UNITED STATES ATTORNEY

                                      MATTHEW G. OLSEN
                                      Assistant Attorney General

                                      By:    /s/
                                      JAY I. BRATT
                                       Chief
                                      JULIE EDELSTEIN
                                       Deputy Chief
                                      STEPHEN MARZEN
                                       Trial Attorney
                                      Counterintelligence and Export Control Section
                                      National Security Division
                                      Department of Justice




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 11, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
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